                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 1 of 13 Page ID #:1


                                     KAZEROUNI LAW GROUP, APC                     BOROWITZ & CLARK, LLP
                               1
                                     Abbas Kazerounian, Esq. (249203)             M. Erik Clark, Esq.
                               2     ak@kazlg.com                                 eclark@blclaw.com
                                     Matthew M. Loker, Esq. (279939)              100 N. Barranca Street, Suite 250
                               3
                                     ml@kazlg.com                                 West Covina, CA 91791
                               4     Elizabeth A. Wagner, Esq. (317098)           Telephone: (626) 332-8600
                                     elizabeth@kazlg.com                          Facsimile: (626) 332-8644
                               5
                                     245 Fischer Avenue, Unit D1
                               6     Costa Mesa, CA 92626
                                     Telephone: (800) 400-6808
                               7
                                     Facsimile: (800) 520-5523
                                8
                                     HYDE & SWIGART
                                9    Joshua B. Swigart, Esq. (225557)
                               10    josh@westcoastlitigation.com
                                     2221 Camino Del Rio South, Ste. 101
                               11    San Diego, CA 92108
                               12    Telephone: (619) 233-7770
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                     Facsimile: (619) 297-1022
    COSTA MESA, CA 92626




                               13
                               14    Attorneys for Plaintiff,
                               15                         UNITED STATES DISTRICT COURT
                               16                        CENTRAL DISTRICT OF CALIFORNIA
                               17    DANIEL MEJIA,                                Case No.:
                               18    INDIVIDUALLY AND ON
                                     BEHALF OF ALL OTHERS                         CLASS ACTION
                               19    SIMILARLY SITUATED,
                               20                                                 COMPLAINT FOR DAMAGES FOR
                                                    Plaintiff,                    VIOLATIONS OF THE
                               21                                                 CALIFORNIA CONSUMER
                               22                           v.                    CREDIT REPORTING AGENCIES
                                                                                  ACT, CAL. CIV. CODE § 1785.1, ET
                               23    BANK OF AMERICA,                             SEQ.
                               24    NATIONAL ASSOCIATION,
                                                                                  JURY TRIAL DEMANDED
                               25
                                                   Defendant.
                               26
                               27
                               28
                                       Case No.:                                        Mejia, et al. v. Bank of America, N.A.
                                          PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE
                                        CALIFORNIA CONSUMER CREDIT REORTING AGENCIES ACT, CAL. CIV. CODE § 1785.1
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 2 of 13 Page ID #:2



                               1                                           INTRODUCTION
                               2     1.     The California legislature found that the banking system is dependent upon
                               3            fair and accurate credit reporting; and that, inaccurate credit reports directly
                               4            impair the efficiency of the banking system, and unfair credit reporting
                               5            methods undermine the public confidence, which is essential to the continued
                               6            functioning of the banking system. The California Consumer Credit Reporting
                                7           Agencies Act was enacted to insure fair and accurate reporting, promote
                                8           efficiency in the banking system and protect consumer privacy; and to ensure
                                9           that consumer reporting agencies exercise their grave responsibilities with
                               10           fairness, impartiality, and a respect for the consumer’s right to privacy
                               11           because consumer reporting agencies have assumed such a vital role in
                               12           assembling and evaluating consumer credit and other information on
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                            consumers.1
    COSTA MESA, CA 92626




                               13
                               14    2.     DANIEL MEJIA (“Plaintiff”) by Plaintiff’s attorneys, brings this Class Action
                               15           Complaint for damages, injunctive relief, and any other available legal or
                               16           equitable remedies, to challenge the illegal actions of BANK OF AMERICA,
                               17           NATIONAL ASSOCIATION (“Defendant”) in reporting erroneous negative
                               18           and derogatory information on Plaintiff’s credit report, as that term is defined
                               19           by Cal. Civ. Code §§ 1785.3(c).
                               20    3.     Plaintiff makes these allegations on information and belief, with the exception
                               21           of those allegations that pertain to a Plaintiff, or to a Plaintiff's counsel, which
                               22           Plaintiffs allege on personal knowledge.
                               23    4.     While many violations are described below with specificity, this Complaint
                               24           alleges violations of the statutes cited in their entirety.
                               25    5.     Unless otherwise stated, Plaintiff alleges that any violations by Defendant
                               26           were knowing and intentional, and that Defendant did not maintain procedures
                               27           reasonably adapted to avoid any such violation.
                               28    1
                                         Cal Civ. Code § 1785.1

                                     Case No.:                            1 of 12       Mejia, et al. v. Bank of America, N.A.
                                     PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 3 of 13 Page ID #:3



                               1     6.   Unless otherwise indicated, the use of any Defendant’s name in this
                               2          Complaint includes all agents, employees, officers, members, directors, heirs,
                               3          successors, assigns, principals, trustees, sureties, subrogees, representatives,
                               4          and insurers of that Defendant named.
                               5                                   JURISDICTION AND VENUE
                               6     7.   Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a
                                7         resident of the State of California, seeks relief on behalf of a California class,
                                8         which will result in at least one class member belonging to a different state
                                9         than that of Defendant, a national association with its principal place of
                               10         business in the State of North Carolina.
                               11    8.   Plaintiff also seeks the greater of statutory punitive damages of $5,000 per
                               12         violation per violation pursuant to Cal. Civ. Code § 1785.31, which, when
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                          aggregated among a proposed class number in the tens of thousands, exceeds
    COSTA MESA, CA 92626




                               13
                               14         the $5,000,000 threshold for federal court jurisdiction.
                               15    9.   Therefore, both diversity jurisdiction and the damages threshold under the
                               16         Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
                               17         jurisdiction.
                               18    10. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                               19         Plaintiff resides in the County of San Bernardino, State of California which is
                               20         within this judicial district; (ii) the conduct complained of herein occurred
                               21         within this judicial district; and, (iii) Defendant conducted business within this
                               22         judicial district at all times relevant.
                               23                                             PARTIES
                               24    11. Plaintiff is a natural person who resides in the County of San Bernardino,
                               25         State of California, and is a “consumer” as that term is defined by Cal. Civ.
                               26         Code § 1785.3(c).
                               27    12. Plaintiff is informed and believes, and thereon alleges, that Defendant is a
                               28         national association whose principal place of business is in North Carolina.

                                     Case No.:                            2 of 12       Mejia, et al. v. Bank of America, N.A.
                                     PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 4 of 13 Page ID #:4



                               1     13. Defendant is a furnisher of information as contemplated by FCRA sections
                               2          1681s-2(a) & (b), that regularly and in the ordinary course of business furnish
                               3          information to one or more consumer reporting agencies about consumer
                               4          transactions or experiences with any consumer.
                               5     14. The causes of action herein pertains to Plaintiff’s “consumer credit report” as
                               6          that term is defined by Cal. Civ. Code § 1785.3(d), in that inaccurate
                                7         representations of Plaintiff’s credit worthiness, credit standing, and credit
                                8         capacity were made via written, oral, or other communication of information
                                9         by a consumer credit reporting agency, which is used or is expected to be
                               10         used, or collected in whole or in part, for the purposes of serving as a factor in
                               11         establishing Plaintiff’s eligibility for, among other things, credit to be used
                               12         primarily for personal, family, household and employment purposes.
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                     15. Defendant is a partnership, corporation, association, or other entity, and is
    COSTA MESA, CA 92626




                               13
                               14         therefore a “person” as that term is defined by Cal. Civ. Code § 1785.3(j).
                               15                                   FACTUAL ALLEGATIONS
                               16    16. At all times relevant, Plaintiff is an individual residing within the State of
                               17         California.
                               18    17. Plaintiff is informed and believes, and thereon alleges, that at all time
                               19         relevant, Defendant conducted business in the State of California.
                               20    18. In or about 2005, Plaintiff allegedly incurred financial obligations to the
                               21         original creditor, Defendant, that were money, property, or their equivalent,
                               22         which is due or owing, or alleged to be due or owing, from a natural person to
                               23         another person (“the Debt”).
                               24    19. In or about 2014, Plaintiff filed for a Chapter 13 Bankruptcy.
                               25    20. Said Bankruptcy petition included Plaintiff’s debt with Defendant for account
                               26         number: 488893105672****.
                               27    21. The account with Defendant was subsequently discharged and the account
                               28         with Defendant was closed on or about December of 2014.

                                     Case No.:                            3 of 12       Mejia, et al. v. Bank of America, N.A.
                                     PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 5 of 13 Page ID #:5



                               1     22. To date Defendant is reporting that the pay status of Plaintiff’s account is
                               2          “>Account 30 Days Past Due Date<”.
                               3     23. To date, Defendant is also reporting that Plaintiff has a monthly payment
                               4          obligation. Specifically, Defendant is reporting “$607” scheduled payment
                               5          amount.
                               6     24. Defendant is also reporting the status of the account as “30 – 59 Days Past
                                7         Due.”
                                8    25. Defendant completely fails to report that the Debt was included in Plaintiff’s
                                9         Chapter 13 Bankruptcy.
                               10    26. Defendant’s reporting is inaccurate as the account is closed and has also been
                               11         discharged making Plaintiff’s monthly payment obligation $0.
                               12    27. The failure to correctly report the $0 monthly payment inaccurately and
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                          misleadingly suggests that Plaintiff still has a personal legal liability to pay the
    COSTA MESA, CA 92626




                               13
                               14         alleged Debt, which is the opposite effect of receiving a bankruptcy discharge.
                               15    28. Defendant’s reporting of post-Bankruptcy derogatory information was also
                               16         inaccurate and materially misleading because Defendant continued reporting
                               17         information based on Defendant’s pre-bankruptcy contract terms with the
                               18         Plaintiff, which were no longer enforceable upon the filing of the Bankruptcy
                               19         and ultimate successful discharge, thereby rendering the disputed information
                               20         inaccurate and materially misleading.
                               21    29. Potential creditors familiar with Defendant’s standard credit reporting
                               22         methods would be misled by seeing Defendant reporting post-Bankruptcy
                               23         account balances and delinquencies in respect to the Debt to believe that
                               24         Plaintiff incurred new debt during the Bankruptcy or that Plaintiff reaffirmed
                               25         the Debt notwithstanding the discharge because Defendant’s reporting
                               26         deviated from Metro 2 reporting instructions.
                               27    30. However, Plaintiff did not incur new debt with Defendant during the
                               28         Bankruptcy proceeding or reaffirm the Debt in the Bankruptcy.

                                     Case No.:                            4 of 12       Mejia, et al. v. Bank of America, N.A.
                                     PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 6 of 13 Page ID #:6



                               1     31. Accordingly,      by    reporting   post-Bankruptcy      derogatory     information,
                               2          Defendant did not comply with the Metro 2 format.
                               3     32. Even if Defendant reported accurately elsewhere in the same account tradeline
                               4          that the Debt was included in the Bankruptcy, such reporting would be
                               5          patently inconsistent, confuse potential creditors, and thus, be inherently
                               6          inaccurate and materially misleading.
                                7    33. Furnishers utilization of the Metro 2 reporting standard correctly is crucial
                                8         because the Metro 2 system creates a uniform standard for the meaning given
                                9         to each field provided, which fosters consistency in how furnishers formulate
                               10         data to report to the credit bureaus, which ultimately leads to objective credit
                               11         evaluations.
                               12    34. Through this conduct, Defendant has violated Cal. Civ. Code § 1785.25(a) by
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                          furnishing information to consumer reporting agencies that Defendant knew
    COSTA MESA, CA 92626




                               13
                               14         or should known was inaccurate.
                               15    35. Through this conduct, Defendant is liable under Cal. Civ. Code § 1785.25(g)
                               16         because Defendant did not have in place reasonable procedures to comply
                               17         with the CCCRAA.
                               18    36. By reporting inaccurate information to the credit bureaus, Defendant has
                               19         misrepresented the status of Plaintiff’s financial obligations, specifically
                               20         Plaintiff’s payment obligations for a paid and/or closed and/or discharged
                               21         account.
                               22    37. As a result of Defendant’s improper and unauthorized conduct, Plaintiff has
                               23         suffered actual damages due to Defendant’s misrepresentations regarding
                               24         Plaintiff’s current payment obligations.
                               25    38. Furthermore, Plaintiff is not alone; Defendant has improperly and unlawfully
                               26         reported that other consumers have a current monthly payment obligation
                               27         when in fact the account has been paid and/or closed and/or discharged in
                               28         bankruptcy.

                                     Case No.:                            5 of 12       Mejia, et al. v. Bank of America, N.A.
                                     PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 7 of 13 Page ID #:7



                               1                                       CLASS ALLEGATIONS
                               2     39. Plaintiff brings this action on Plaintiff’s own behalf, and on behalf of all
                               3          others similarly situated.
                               4     40. Plaintiff is among many thousands of persons in the United States who have
                               5          filed bankruptcies pursuant to Chapters 7 and 13 of the U.S. Bankruptcy Code
                               6          and who have been granted orders of discharge by a U.S. Bankruptcy Court.
                                7         Under federal bankruptcy laws, such an order fully and completely discharges
                                8         all statutorily dischargeable debts incurred prior to the filing of bankruptcies,
                                9         except for those that have been: (1) reaffirmed by the debtor in a reaffirmation
                               10         agreement; or (2) successfully challenged as non-dischargeable by one of the
                               11         creditors in a related adversary proceeding. Plaintiff and the Class Members
                               12         are persons for whom the debts at issue have been discharged through
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                          bankruptcy.
    COSTA MESA, CA 92626




                               13
                               14    41. Defendant has knowledge of when its past due debts are discharged because it
                               15         receives a discharge notice from the U.S. Bankruptcy Court.
                               16    42. Despite the fact that Defendant has received notice of the discharge of each
                               17         Class Member’s debt to Defendant, Defendant has a deliberate policy of not
                               18         notifying credit reporting agencies that debts formerly owing to Defendant are
                               19         no longer “charged off” or currently still due and owing because they have
                               20         been discharged in bankruptcy. As a result of Defendant’s refusal to make
                               21         such updates to credit reporting agencies, debts that have been discharged in
                               22         bankruptcy are instead listed on Class Members’ credit reports as “past due”
                               23         and/or “charged off.” These notations clearly indicate to potential creditors,
                               24         employers, or other third parties that a Class Member still owes a debt and
                               25         that debt may be subject to collection. These notations therefore adversely
                               26         affect a Class Member’s ability to obtain credit or employment and have the
                               27         inherent coercive effect of inducing Class Members to make payment on the
                               28         debt.

                                     Case No.:                            6 of 12       Mejia, et al. v. Bank of America, N.A.
                                     PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 8 of 13 Page ID #:8



                               1     43. Moreover, Defendant’s failure and further refusal to update credit report
                               2          tradelines for many thousands of consumers to reflect that their debts were, in
                               3          fact, discharged in Bankruptcy, as opposed to reporting a current (pay) status
                               4          of “charged off” or “past due”, runs afoul to Section 727 of the Bankruptcy
                               5          Code and the primary purpose of the protection offered by the Bankruptcy
                               6          Code—the discharge of a debt. Marrama v. Citizens Bank of Massachusetts,
                                7         549 U.S. 365, 367 (2007).
                                8    44. Defendant knew that the existence of such inaccurate information in the Class
                                9         Members’ credit reports would damage the Class Members’ credit ratings and
                               10         their ability to obtain new credit, a lease, a mortgage or employment, all of
                               11         which may be essential to reestablishing their life after going through
                               12         bankruptcy.
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                     45. Defendant has chosen not to advise the CRAs of the fact that the Class
    COSTA MESA, CA 92626




                               13
                               14         Members’ debts have been discharged because Defendant continues to receive
                               15         payment either directly or indirectly on discharged debts. This results from the
                               16         fact that Class Members, in order to obtain favorable credit or credit at all,
                               17         often feel it necessary to pay off the debt despite its discharge in order to
                               18         remove the inaccurate information from their credit reports.
                               19    46. Class Members often believe that they must pay the debt in order to remove it
                               20         from the credit reports because they are often advised prior to bankruptcy by
                               21         Defendant that, if their debt is marked as unpaid or charged off, it will
                               22         dramatically affect their credit rating and will severely impact their ability to
                               23         receive credit in the future.
                               24    47. Defendant has adopted a systematic pattern and practice of failing and
                               25         refusing to update credit information with regard to debts discharged in
                               26         bankruptcy. Defendant knows that if the credit information is not updated,
                               27         then many Class Members will feel compelled to pay off the debt even though
                               28         it is discharged in bankruptcy. Thus, Defendant knows they will be able to

                                     Case No.:                            7 of 12       Mejia, et al. v. Bank of America, N.A.
                                     PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 9 of 13 Page ID #:9



                               1          collect portions of Defendant’s debt despite the discharge of that debt in
                               2          bankruptcy through the power of inaccurate and misleading credit reporting.
                               3     48. Defendant therefore has a clear economic incentive to violate the CCCRAA.
                               4     49. Plaintiffs defines the CCCRAA Classes as:
                                                  (i)    all persons with addresses within in the State of
                               5
                                                         California; (ii) who have an account(s) with
                               6                         Defendant; (iii) where said account was discharged
                                                         in bankruptcy; (iv) where Defendant reported a
                                7
                                                         monthly payment obligation; (v) within one year
                                8                        prior to the filing of the Complaint in this action.
                                                  (ii) all persons with addresses within in the State of
                                9
                                                         California; (ii) who have an account(s) with
                               10                        Defendant; (iii) where said account was discharged
                                                         in bankruptcy; (iv) where Defendant failed to
                               11
                                                         report the account as discharged in Bankruptcy; (v)
                               12                        within one year prior to the filing of the Complaint
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                                         in this action.
    COSTA MESA, CA 92626




                               13
                                     50. Defendant and their employees or agents are excluded from the Classes.
                               14
                                     51. Plaintiff does not know the exact number of persons in the Classes, but
                               15
                                          believes them to be in the several hundreds, if not thousands, making joinder
                               16
                                          of all these actions impracticable.
                               17
                                     52. The identity of the individual members is ascertainable through Defendant’s
                               18
                                          and/or Defendant’s agents’ records or by public notice.
                               19
                                     53. There is a well-defined community of interest in the questions of law and fact
                               20
                                          involved affecting the members of The Classes. The questions of law and fact
                               21
                                          common to The Classes predominate over questions affecting only individual
                               22
                                          class members, and include, but are not limited to, the following:
                               23
                                               a. Whether Defendant has a standard procedure of continuing to report a
                               24
                                                  monthly payment obligation after an account is paid and/or closed
                               25
                                                  and/or discharged;
                               26
                                               b. Whether Defendant has a standard procedure of failing to report
                               27
                                                  accounts as discharged in Bankruptcy;
                               28

                                     Case No.:                            8 of 12       Mejia, et al. v. Bank of America, N.A.
                                     PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 10 of 13 Page ID #:10



                               1                c. Whether such practices violate the CCCRAA;
                               2                d. Whether members of the Classes are entitled to the remedies under the
                               3                    CCCRAA;
                               4                e. Whether members of the Classes are entitled to declaratory relief;
                               5                f. Whether Defendant should be enjoined from reporting such inaccurate
                               6                    information to the credit reporting agencies;
                                7               g. Whether members of the Classes are entitled to injunctive relief; and,
                                8               h. Whether Defendant can satisfy Defendant’s bona fide error
                                9                   affirmative defense.
                               10     54. Plaintiff will fairly and adequately protect the interest of the Classes.
                               11     55. Plaintiff has retained counsel experienced in consumer class action litigation
                               12          and in handling claims involving unlawful debt collection practices.
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                      56. Plaintiff’s claims are typical of the claims of The Classes, which all arise from
    COSTA MESA, CA 92626




                               13
                               14          the same operative facts involving reporting a monthly payment obligation
                               15          after an account is paid and/or closed and/or discharged.
                               16     57. A class action is a superior method for the fair and efficient adjudication of
                               17          this controversy.
                               18     58. Class-wide damages are essential to induce Defendant to comply with the
                               19          state laws alleged in the Complaint.
                               20     59. Class members are unlikely to prosecute such claims on an individual basis
                               21          since the maximum statutory punitive damages award of $5,000 is relatively
                               22          small. Management of these claims is likely to present significantly fewer
                               23          difficulties than those presented in many class claims, e.g., securities fraud.
                               24     60. Plaintiff and the Classes seek injunctive relief against Defendant to refrain
                               25          from reporting such inaccurate information to the credit reporting agencies.
                               26     61. Defendant has acted on grounds generally applicable to the Classes thereby
                               27          making appropriate final declaratory relief with respect to the Classes as a
                               28          whole.

                                      Case No.:                            9 of 12       Mejia, et al. v. Bank of America, N.A.
                                      PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 11 of 13 Page ID #:11



                               1      62. Members of the Classes are likely to unaware of their rights.
                               2      63. Plaintiff contemplates providing notice to the putative class members by direct
                               3           mail in the form of a postcard and via publication.
                               4                      CLASS CAUSES OF ACTION CLAIMED BY PLAINTIFFS
                               5                                             COUNT I
                               6        VIOLATION OF THE CALIFORNIA CONSUMER CREDIT REPORTING AGENCIES
                                7                                        ACT (CCCRAA)
                                8                               Cal. Civ. Code § 1785.1, et seq.
                                9     64. Plaintiff incorporates by reference all of the above paragraphs of this
                               10          Complaint as though fully stated herein.
                               11     65. The foregoing acts and omissions constitute numerous and multiple violations
                               12          of the California Consumer Credit Reporting Agencies Act.
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                      66. In the regular course of its business operations, Defendant routinely furnishes
    COSTA MESA, CA 92626




                               13
                               14          information to credit reporting agencies pertaining to transactions between
                               15          Defendant and Defendant’s consumers, so as to provide information to a
                               16          consumer’s credit worthiness, credit standing and credit capacity.
                               17     67. Because Defendant is a partnership, corporation, association, or other entity,
                               18          and is therefore a “person” as that term is defined by Cal. Civ. Code §
                               19          1785.3(j), Defendant is and always was obligated to not furnish information
                               20          on a specific transaction or experience to any consumer credit reporting
                               21          agency if the person knows or should have known that the information is
                               22          incomplete or inaccurate, as required by Cal. Civ. Code § 1785.25(a).
                               23          Defendant knew or should have known that Defendant was not able to report
                               24          monthly payment obligations on accounts that have been paid and/or closed
                               25          and/or discharged. Thus, Defendant violated Cal. Civ. Code § 1785.25(a).
                               26
                               27
                               28

                                      Case No.:                            10 of 12      Mejia, et al. v. Bank of America, N.A.
                                      PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 12 of 13 Page ID #:12



                               1      68. Because Defendant is a partnership, corporation, association, or other entity,
                               2           and is therefore a “person” as that term is defined by Cal. Civ. Code §
                               3           1785.3(j), Defendant is and always was obligated to not furnish information
                               4           on a specific transaction or experience to any consumer credit reporting
                               5           agency if the person knows or should have known that the information is
                               6           incomplete or inaccurate, as required by Cal. Civ. Code § 1785.25(a).
                                7          Defendant knew or should have known that Defendant was required to
                                8          accurately report that an account had been discharged in Bankruptcy. Thus,
                                9          Defendant violated Cal. Civ. Code § 1785.25(a).
                               10                                      PRAYER FOR RELIEF
                               11     WHEREFORE, Plaintiff and the Class Members pray for judgment as follows:
                               12           • Certifying the Classes as requested herein;
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1




                                            • Appointing Plaintiff’s Counsel as Class Counsel;
    COSTA MESA, CA 92626




                               13
                               14           • An award of actual damages, in an amount to be determined at trial,
                               15               pursuant to Cal. Civ. Code § 1785.31(a)(2)(A), against each named
                               16               Defendant individually;
                               17           • An Award of attorneys’ fees and costs pursuant to Cal. Civ. Code §
                               18               1785.31(a)(1); and, Cal. Civ. Code § 1785.31(d) against each named
                               19               Defendant individually;
                               20           • An award of punitive damages of $100-$5,000 per willful violation of
                               21               Cal. Civ. Code § 1785.25(a), pursuant to Cal. Civ. Code §
                               22               1785.31(a)(2)(B);
                               23           • For equitable and injunctive relief pursuant to Cal. Civ. Code §
                               24               1785.31(b); and,
                               25           • Any and all other relief that this Court deems just and proper.
                               26
                               27
                               28

                                      Case No.:                            11 of 12      Mejia, et al. v. Bank of America, N.A.
                                      PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
                                    Case 5:18-cv-01853-JGB-KK Document 1 Filed 08/30/18 Page 13 of 13 Page ID #:13



                               1                                          TRIAL BY JURY
                               2      69. Pursuant to the seventh amendment to the Constitution of the United States of
                               3           America, Plaintiffs and The Classes are entitled to, and demand, a trial by
                               4           jury.
                               5
                               6      Dated: August 30, 2018                                          Respectfully submitted,
                                7
                                                                                            KAZEROUNI LAW GROUP, APC
                                8
                                                                                           By: ___/s/ Matthew M. Loker___
                                9
                                                                                                 MATTHEW M. LOKER, ESQ.
                               10                                                                 ATTORNEY FOR PLAINTIFF
                               11
                               12
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1
    COSTA MESA, CA 92626




                               13
                               14
                               15
                               16
                               17
                               18
                               19
                               20
                               21
                               22
                               23
                               24
                               25
                               26
                               27
                               28

                                      Case No.:                            12 of 12      Mejia, et al. v. Bank of America, N.A.
                                      PLAINTIFF DANIEL MEJIA’S CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE CCCRAA
